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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS


NORTHGATE TECHNOLOGIES, INC.                           §
                                                       §
                  Plaintiff,                           §
                                                       §
       v.                                              §
                                                       §
STYRKER CORPORATION d/b/a                              §          Case No.: 1:12-cv-7032
STRYKER ENDOSCOPY; AND W.O.M.                          §
WORLD OF MEDICINE AG,                                  §          Honorable Richard A. Posner
                                                       §          Magistrate Judge Arlander Keys
                  Defendants.                          §
                                                       §
                                                       §

                                 STIPULATION OF DISMISSAL

       IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff, Northgate

Technologies, Inc. and Defendants Stryker Corporation d/b/a Stryker Endoscopy and

W.O.M. World of Medicine AG (collectively “Defendants”) that, pursuant to Rule 41

(a)(l)(A)(ii), Fed. R. Civ. P., all claims asserted against each other in the above-captioned

action will be, and hereby are, dismissed with prejudice. Plaintiff and Defendants agree and

represent that:

       1.         The parties have entered into a Confidential Settlement Agreement effective as

of May 16, 2014, ("Settlement Agreement").

       2.         This stipulation is expressly conditioned on the terms and conditions of the

Settlement Agreement executed by the parties.

       3.         Each party will bear its own costs and attorneys' fees for this action, subject to


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any separate agreement between and affecting Defendants only.



Agreed To and Accepted By:


By: /s/ William H. Frankel
   William H. Frankel

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   Merle Sylvester Elliott

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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 4, 2014, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system which will automatically

send a notice of electronic filing to all persons registered for ECF as of that date.



                                               /s/ James M. Oehler
                                               James M. Oehler
